           Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 1 of 44




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

          v.                                       Case No. 21-cr-75-RDM

    MATTHEW RYAN MILLER,

               Defendant.

                       GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Matthew Miller to 51 months’ incarceration, three years of supervised release,

$2,000 in restitution, and the mandatory $100 special assessment for each count of conviction.

     I.         INTRODUCTION

          Defendant Matthew Miller violently participated in the January 6, 2021 attack on the

United States Capitol building that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred police officers, including members of the United States Capitol

Police (“USCP”) and the Metropolitan Police Department (“MPD”), and resulted in more than 2.7

million dollars’ in losses 1 Miller directly contributed to the violence and damage unleashed on

January 6, 2021.



1
  As of April 5, 2022, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,734,783.15. That amount reflects, among other things, damage to the United
States Capitol building and grounds and certain costs borne by the United States Capitol Police.
                                                1
          Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 2 of 44




         After watching other rioters repeatedly assaulting law enforcement officers in the Lower

West Terrance entrance to the Capitol – a scene that horrified people around the world – Miller

chose to join in by encouraging rioters to push against the police lines erected to keep a violent

and hostile mob from entering, and then unleashing the contents of a fire extinguisher directly onto

officers in the Lower West Terrace tunnel.

         The government recommends that the Court sentence Miller to 51 months’ incarceration,

which is within the advisory Guidelines’ range of 41-51 months that applies in this case and to

which the parties stipulated in their plea agreement. A 51-month custodial sentence is sufficient

but not greater than necessary to meet the requirements of 18 U.S.C. § 3553(a), particularly

considering the gravity of his crimes.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         On January 6, 2021, hundreds of rioters, unlawfully broke into the U.S. Capitol Building

in an effort to disrupt the peaceful transfer of power after the November 3, 2020 presidential

election. Many rioters attacked and injured law enforcement officers, sometimes with dangerous

weapons; they terrified congressional staff and others on scene that day, many of whom fled for

their safety; and they ransacked this historic building—vandalizing, damaging, and stealing

artwork, furniture, and other property. Although the facts and circumstances surrounding the

actions of each rioter who breached the U.S. Capitol and its grounds differ, each rioter’s actions

were illegal and contributed, directly or indirectly, to the violence and destruction that day.

         As set forth in the Pre-Sentence Report (“PSR”) (ECF 65) and the Statement of Offense

incorporated into Miller’s plea agreement, a joint session of Congress had convened at


                                                  2
         Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 3 of 44




approximately 1:00 p.m. at the U.S. Capitol. Members of the House of Representatives and the

Senate were meeting in separate chambers to certify the vote count of the Electoral College of the

November 3, 2020 Presidential election. By approximately 1:30 p.m., the House and Senate

adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued, a large crowd gathered outside the U.S. Capitol. Temporary

and permanent barricades were in place around the exterior of the building, and U.S. Capitol Police

were present and attempting to keep the crowd away from the building and the proceedings

underway inside. At approximately 2:00 p.m., certain individuals forced their way over the

barricades and past the officers, and the crowd advanced to the exterior of the building. Members

of the crowd did not submit to standard security screenings or weapons checks by security officials.

       The vote certification proceedings were still underway, and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to keep the crowd from entering; however, shortly after 2:00 p.m., individuals in the

crowd forced their way in, breaking windows and assaulting law enforcement officers along the

way, while others in the crowd cheered them on.

       At approximately 2:20 p.m., members of the House of Representatives and the Senate,

including the President of the Senate, Vice President Pence, were forced to evacuate the chambers.

All proceedings, including the joint session, were effectively suspended.            The proceedings

resumed at approximately 8:00 p.m. after the building had been secured. Vice President Pence

remained in the United States Capitol from the time he was evacuated from the Senate Chamber

until the session resumed. See Statement of Offense ¶¶ 1-7; PSR ¶¶ 17-23.


                                                 3
         Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 4 of 44




       Attempted Breach of the Capitol Building and Assaultive Conduct on the West Front of
                                   the Capitol Grounds

       Assaults against law enforcement on the West Front of the Capitol Grounds, as depicted in

Government’s Exhibit 1, made the rioters’ entry into the United States Capitol Building on January

6, 2021, possible. Initiated by the most fervent smaller groups and individuals within the crowd

and using the mob itself as a cloak for their actions, each blow helped the crowd penetrate further

into the USCP’s defenses until the building itself was accessible and the occupants were at risk.

The physical breaches of the building can therefore be traced directly back to the assaultive

conduct on the grounds of the West Front.




                                                4
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 5 of 44




                                            B        C




                                        A




                                            Exhibit 12
       The outer perimeter of the Capitol Grounds, made up of bicycle-rack style fencing, bore

numerous signs stating, “AREA CLOSED – By order of the United States Capitol Police Board[.]”

These fences were not actively manned, but members of the USCP were stationed nearby as well

as patrolling throughout the grounds. At approximately 12:45 p.m., a crowd began to gather

against the barricades near the Peace Monument, which led to the Pennsylvania Walkway. Seeing

this, a half dozen USCP officers began to gather behind what is labeled in Government’s Exhibit 1

as “1st Police Barricade,” circled in red and marked as Area A. At 12:52 p.m., the first breach of



2
  Open-Source Rendering of Capitol Building and Grounds as they appeared on January 6, 2021,
credited to Twitter users @ne0ndistraction & @sansastark525.
                                              5
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 6 of 44




the outer perimeter occurred, with several members of the crowd jumping over and pushing down

the unmanned bicycle-rack barricades at the Peace Circle and advancing into the restricted area to

engage with USCP officers at the first manned barrier. Less than one minute later, with the crowd

already numbering in the hundreds, the handful of USCP police officers in and around the barrier

were shoved out of the way by the mob. By 12:58 p.m., the rioters had crossed the unmanned

barrier halfway down the Pennsylvania Walkway and overwhelmed the second manned police

barrier, Area B on Government’s Exhibit 1. They flooded the area labeled “Lower West Plaza,”

Area C on Government’s Exhibit 1, pushing against the barricade there.

       Despite the more-permanent nature of the metal fencing at the West Plaza barricade and

the growing number of USCP officers responding to the area, the crowd remained at this location

for less than a minute, pushing through and over the fence to the front of the plaza. For the next

hour and a half, a growing number of police officers were faced with an even faster growing

number of rioters in the restricted area, the two sides fighting over the establishment and

reinforcement of a police defensive line on the plaza with fists, batons, makeshift projectiles,

pepper spray, pepper balls, concussion grenades, smoke bombs, and a wide assortment of

weaponry brought by members of the crowd or seized from the inaugural stage construction site,

as depicted in Government’s Exhibits 2A-D and 3A-D.




                                                6
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 7 of 44




Exhibit 2A                                     Exhibit 2B




Exhibit 2C                                     Exhibit 2D3




3
  Exhibits 2A-D are stills from USCP security footage showing the progression of the crowd
from the outer barricades (2A), to the first manned police barricade (2B), to engaging with USCP
at the second manned police barricade (2C), and beginning to fill the Lower West Plaza (2D).

                                               7
         Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 8 of 44




Exhibit 3A                                       Exhibit 3B




Exhibit 3C                                        Exhibit 3D 4
       Following the conclusion of President Trump’s speech at approximately 1:15 p.m., the

crowd began to grow even more rapidly, supplemented by those who had walked the mile and a

half from the Ellipse to the Capitol. At 2:03 p.m., Metropolitan Police Department officers

responding to USCP officers’ calls for help began broadcasting a dispersal order to the crowd. It

began with two blaring tones, and then a 30-second announcement, which was played on a

continuous loop:

       This area is now a restricted access area pursuant to D.C. Official Code 22-1307(b).
       All people must leave the area immediately. This order may subject you to arrest
       and may subject you to the use of a riot control agent or impact weapon.



4
  Exhibits 3A-D are stills from USCP security footage showing the breach of the West Plaza.
The breach of the barricades (3A) was followed by the formation of a USCP officer wall (3B)
until MPD officers arrived with bike rack barriers for a defensive line at the top of the West
Plaza stairs (3C). In the photo of the nearly completed bicycle rack barrier line as of 1:39 p.m.,
a large Trump billboard which would later be used against the police line like a battering ram is
visible (3D).
                                                8
         Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 9 of 44




Despite the warning and the deployment of riot control agents and impact weapons, few members

of the crowd left. On the contrary, the mob in the restricted area continued to grow as crowds

streamed towards the West Front, which looked like a battle scene, complete with an active melee

and visible projectiles.

       After having actively defended their line for over an hour, the hundreds of officers at the

front of the inauguration stage were flanked, outnumbered, and under continuous assault from the

thousands of rioters directly in front of them as well as members of the mob who had climbed up

onto scaffolding above and to the side of them, many of whom were hurling projectiles. Because

many of the thousands of people surrounding the officers were not engaged in assaultive conduct,

it was difficult for officers to identify individual attackers or defend themselves. By 2:28 p.m.,

with their situation untenable and openings in the perimeter having already led to breaches of the

building, several large gaps appeared in the police defensive line at the West Front and a general

retreat was called.        With their defensive lines extinguished, several police officers were

surrounded by the crowd. The rioters had seized control of the West Plaza and the inauguration

stage, as depicted in Government’s Exhibits 4A-C. There were now no manned defenses between

the crowd and several entrances into the United States Capitol Building, allowing the stream of

rioters that had started entering the building around 2:13 p.m. to build to a torrent.




                                                  9
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 10 of 44




               Exhibit 4A




                Exhibit 4B




              Exhibit 4C 5


5
  Exhibits 4A-C show the breakthroughs in the defensive line on both the left and right flanks
(4A) caused the entire police line to collapse and individual officers were swallowed by the
                                                 10
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 11 of 44




 Attempted Breach of the Capitol Building and Assaultive Conduct in Tunnel Leading to the
                   doors of the West Front of the U.S. Capitol Building

       The fighting in the lower West Terrace tunnel was nothing short of brutal. Here, I
       observed approximately 30 police officers standing shoulder to shoulder, maybe
       four or five abreast, using the weight of their bodies to hold back the onslaught of
       violent attackers. Many of these officers were injured, bleeding, and fatigued, but
       they continued to hold the line. Testimony of USCP Sgt. Gonell, MPD Officer
       Fanone, USCP Officer Dunn, and MPD Officer Hodges: Hearing Before the House
       Select Comm. to Investigate the January 6th Attack on the United States Capitol,
       117 Cong. (July 27, 2021) (Statement of Officer Michael Fanone) available at
       https://www.c-span.org/video/?513434-1/capitol-dc-police-testify-january-6-
       attack.

One of the most violent confrontations on January 6 occurred near an entrance to the Capitol

Building in the area known as the Lower West Terrace (“LWT”). The entrance usually consists

of a flight of stairs leading to a doorway. On January 6, 2021, however, the construction of the

inaugural stage converted the stairway into a 10-foot-wide, slightly sloped, short tunnel that was

approximately 15 feet long. That tunnel led to two sets of metal swinging doors inset with glass.

On the other side of the two sets of swinging doors is a security screening area with metal detectors

and an x-ray scanner and belt, that leads into the basement of the Capitol Building. The exterior

of the tunnel is framed by a stone archway that is a visual focal point at the center of the West

Front of the Capitol Building. This archway is also of great symbolic significance as it has been

the backdrop for nine presidential inaugurations, is draped in bunting during the event, and is the

entrance for the President-Elect and other dignitaries on Inauguration Day, as seen in

Government’s Exhibit 5.




crowd (4B) and many officers were assaulted as they waited in a group to retreat through doors
and stairwells up onto the inaugural stage (4C).

                                                 11
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 12 of 44




                                            Exhibit 56

       On January 6, 2021, when rioters arrived at the doors behind this archway, the outer set of

doors was closed and locked, and members of Congress who had fled from the rioters were

sheltering nearby. Members of the United States Capitol Police (“USCP”), assisted by officers

from the District of Columbia Metropolitan Police Department (“MPD”), were arrayed inside the

doorway and guarding the entrance. Many of these officers had already physically engaged with

the mob for over an hour, having reestablished a defense line here after retreating from an earlier

protracted skirmish on the West Plaza below.

       At approximately 2:42 p.m., the mob broke the windows to the first set of doors, and the



6
 Architect of the Capitol, available at: https://www.aoc.gov/what-we-do/programs-
ceremonies/inauguration.
                                                  12
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 13 of 44




law enforcement officers reacted immediately by spraying Oleoresin Capsicum (“OC”) spray at

the rioters, who continued to resist. The mob continued to grow, and the rioters pushed their way

into the second set of doors, physically engaging law enforcement with batons, poles, chemical

spray, bottles and other items. Officers created a line in the doorway to block the rioters and

physically engaged them with batons and OC spray. At a later hearing on the events of January

6, Congressman Stephanie Murphy described her experience nearby this location in response to

testimony from MPD Officer Daniel Hodges, who was assaulted while caught in the tunnel doors

between the two forces:

       January 6th was an attack on our democracy, it was an attack on the peaceful transfer
       of power, and it was an attack on this Capitol building, but it was also an attack on
       real people. And most people don’t know this -- and I don’t think even you know
       this -- but your actions had a profound impact on me. So, at 3:00 p.m. on January
       6th, 2021, while you were holding back the mob at the Lower West Terrace
       entrance, I was holed up with Congresswoman Kathleen Rice in a small office
       about 40 paces from the tunnel that you all were in. That’s about from the distance
       where I’m sitting here on the dais to that back wall. And from that office in close
       proximity to where you all held the line, I listened to you struggle. I listened to
       you yelling out to one another. I listened to you care for one another, directing
       people back to the makeshift eyewash station that was at the end of our hall. And
       then, I listened to people coughing, having difficulty breathing, but I watched you
       and heard you all get back into the fight.” Testimony of USCP Sgt. Gonell, MPD
       Officer Fanone, USCP Officer Dunn, and MPD Officer Hodges: Hearing Before
       the House Select Comm. to Investigate the January 6th Attack on the United States
       Capitol, 117 Cong. (July 27, 2021) (Statement of Rep. Stephanie Murphy) available
       at https://www.c-span.org/video/?513434-1/capitol-dc-police-testify-january-6-
       attack.

The violent and physical battle for control over the LWT entrance in the tunnel and doorway area

continued for over two hours, during which time rioters repeatedly assaulted, threatened, pushed,

and beat law enforcement officers. The battle for the LWT entrance involved intense hand-to-

hand combat, and some of the most violent acts against law enforcement, including the abduction

and tasering of MPD Officer Michael Fanone and the previously-mentioned assault of Officer

                                                13
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 14 of 44




Daniel Hodges.

       During this battle, the vastly outnumbered officers were assaulted with all manner of

objects and weapons, receiving blow after blow from rioters taking turns assaulting them, all in a

concerted effort to breach the doorway to the basement area of the Capitol, disrupt the certification,

and overturn the election results by force. Capitol Police Sgt. Aquilino Gonell, who was present

in the tunnel that day, explained:

       What we were subjected to that day was like something from a medieval battle. We
       fought hand-to-hand, inch-by-inch to prevent an invasion of the Capitol by a violent
       mob intent on subverting our democratic process. My fellow officers and I were
       committed to not letting any rioters breach the Capitol. It was a prolonged and
       desperate struggle. Id. (Statement of Sgt. Aquilino Gonell)

Despite the mob’s efforts, the officers in the LWT held the line with commendable restraint, and

through personal sacrifice and valor.      MPD Officer Michael Fanone remembers one of his

colleagues’ actions that day:

       In the midst of that intense and chaotic scene, [MPD] Commander [Ramey] Kyle
       remained cool, calm, and collected as he gave commands to his officers. “Hold the
       line,” he shouted over the roar. Of course, that day, the line was the seat of our
       American government. Despite the confusion and stress of the situation, observing
       Ramey’s leadership, protecting a place I cared so much about, was the most
       inspirational moment of my life. The bravery he and others showed that day are the
       best examples of duty, honor, and service. Id. (Statement of Officer Michael
       Fanone)

Several officers sustained injuries during this prolonged struggle, and many returned to defend the

Capitol, even when injured, as substantial reinforcements for these officers did not arrive until

heavily armored Virginia State Police officers joined the police line with additional munitions

around 5 p.m.

       Despite being under constant assault, these officers nevertheless provided first aid to

injured rioters who were trapped in the tunnel area, including those who had difficulty breathing

                                                 14
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 15 of 44




as a result of chemical irritants that had been used in the tunnel area. It is not an exaggeration to

state the actions of these officers in thwarting the mob at the LWT entrance potentially saved the

lives of others, including potential harm to members of Congress.

             Injuries and Property Damage Caused by the January 6, 2021 Attack

       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021).

Members of this Court have similarly described it as “a singular and chilling event in U.S. history,

raising legitimate concern about the security—not only of the Capitol building—but of our

democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C. Mar. 10,

2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr. at

14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and myself for what

we view as an incredibly dangerous and disturbing attack on a free electoral system.”); United

States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021) (“The actions

of this violent mob, particularly those members who breached police lines and gained entry to the

Capitol, are reprehensible as offenses against morality, civic virtue, and the rule of law.”); United

States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob

without the numbers. The people who were committing those violent acts did so because they had

the safety of numbers.”) (statement of Judge Chutkan).

       In addition, the rioters injured more than a hundred members of law enforcement. See Staff

of Senate Committees on Homeland Security and Governmental Affairs and on Rules and

Administration Report, Examining the Capitol Attack: A Review of the Security, Planning, and

Response     Failures    on    January     6    (June    7,    2021),    at   29,    available     at


                                                 15
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 16 of 44




https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol

Attack.pdf (describing officer injuries). Some of the rioters wore tactical gear and used dangerous

weapons and chemical irritants during hours-long hand-to-hand combat with law enforcement

officers. See id. at 27-30.

       Moreover, the rioters inflicted significant emotional injuries on law enforcement officers

and others on scene that day who feared for their safety. See id; see also Architect of the Capitol,

J. Brett Blanton, Statement before the House of Representatives Committee on House

Administration (May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-

05/AOC_Testimony_CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect

of the Capitol employees due to the January 6, 2021, attack).

       Finally, the rioters stole, vandalized, and destroyed property inside and outside the U.S.

Capitol Building. They caused extensive, and in some instances, incalculable, losses. This

included wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems

and photography equipment, broken furniture, damaged artwork, including statues and murals,

historic lanterns ripped from the ground, and paint tracked over historic stone balustrades and

Capitol Building hallways. See id; see also United States House of Representatives Curator Farar

Elliott, Statement Before the House Appropriations Subcommittee on the Legislative Branch (Feb.

24, 2021), available at https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-

AP24-Wstate-ElliottF-20210224.pdf (describing damage to marble and granite statues). As set

forth in the Statement of Offense, the attack resulted in substantial damage to the U.S. Capitol, to

date requiring the expenditure of more than 2.7 million dollars in losses.




                                                16
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 17 of 44




       B.      Defendant’s Role in the January 6, 2021 Attack on the Capitol

       On January 6, 2021, Miller was in Washington D.C. Once on restricted grounds of the

U.S. Capitol, Miller encouraged rioters to get closer to the U.S. Capitol Building and threw a full

beer can at law enforcement officers. Once on the Lower West Terrace, Miller took several

actions against the police guarding the entrance to the Capitol Building at the LWT tunnel. There

he urged other rioters to push against the police; threw batteries at police officers; and Miller

ultimately released the contents of a fire extinguisher, a dangerous weapon when used as Miller

did, directly onto law enforcement officers protecting the entry point into the heart of our

democracy within the Lower West Terrace tunnel.

                                    Approach to the Capitol

       Miller, wearing a cowboy hat and Washington Capitals hockey jersey, urged rioters to

come closer to the building, as depicted in Government’s Exhibit 6 7 (a video submitted to the

Court) and Exhibits 6A-D (stills from Exhibit 6). While standing on a wall, he waved his arm in

a “come this way” fashion at least 30 times and called out, “Come on!”




       Exhibit 6A                                    Exhibit 6B


7
  Open-source video Titled, “My DC Experience - Capitol” found at
https://www.youtube.com/watch?v=tNl8-SKNrPA&t=276s.


                                                17
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 18 of 44




       Exhibit 6C                                         Exhibit 6D


       Also while within the restricted grounds of the Capitol, Miller, while draped in a

Confederate flag, threw a full beer can approximately 30 yards, in the direction of law

enforcement, as depicted in Government’s Exhibit 7 8 (a video submitted to the Court) and

Exhibits 7A-D (stills from Exhibit 7). From the video, it appears that when this object landed a

loud noise rang out, causing members of the crowd to gasp and crouch down.




Exhibit 7A                                       Exhibit7B




8
   Open-source video Titled, “My DC Experience - Capitol” found at
https://www.youtube.com/watch?v=tNl8-SKNrPA&t=276s.
                                            18
          Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 19 of 44




Exhibit 7C                                         Exhibit 7D


         In working his way closer to the Lower West Terrace, Miller, while draped in a distinctive

yellow flag, which was recovered from his home, and working with others, helped moved a board

up the Capitol structure. He then used a bike-rack style barrier as a ladder to scale the U.S.

Capitol, as shown in Government’s Exhibit 8 9 (a video submitted to the Court) and Exhibits 8A-

C (stills from Exhibit 8).




         Exhibit 8A                                        Exhibit 8B




9
    Open-source video found at https://archive.org/details/RtmsDNqrfyvMzceKF.
                                                  19
       Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 20 of 44




Exhibit 8C

                                 Miller on the Lower West Terrace

       Miller was not deterred by the violence surrounding him; rather, he advanced to become

part of it. He was on the Lower West Terrace by mid-afternoon on January 6, 2021, as seen in

Government’s Exhibits 9 10 and 10.




10
  Still from an open-source video that can be viewed at:
https://archive.org/download/qJkwSv4NDuuY7k9MB/qJkwSv4NDuuY7k9MB.mpeg4.
                                                20
          Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 21 of 44




         Exhibit 9




         Exhibit 10

         On the Lower West Terrace, rioters rocked back and forth chanting, “Heave! Ho!” against

the law enforcement guarding the doors within the tunnel leading into the Capitol. Miller faced

away from the tunnel, waved his arm over and over, urged the crowd and appeared to say, “come

on.” As seen in Government’s Exhibit 11 11 (a video submitted to the Court) and Exhibits 11A-

B (stills from Exhibit 11), Miller put up his fingers one at a time and yelled, “one, two, three,


11
     Open-source video titled, “FULL FOOTAGE: Patriots STORM U.S. Capitol” (4K60fps).
                                            21
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 22 of 44




push!” He did this at least four times and for approximately two minutes.




        Exhibit 11A




       Exhibit 11B

       Miller also took advantage of his proximity to the tunnel by throwing objects, believed to

be batteries, towards the defensive line of law enforcement officers attempting to secure the Lower

West Terrace tunnel entrance to the U.S. Capitol, as seen in Government’s Exhibit 1212 (a video



12
  Open-Source video can be viewed at: https://www.youtube.com/watch?v=cRCEMN-
lq_o&t=810.
                                              22
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 23 of 44




submitted to the Court) and Exhibits 12A-C (stills from Exhibit 12).




       Exhibit 12A




       Exhibit 12B




                                               23
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 24 of 44




       Exhibit 12C

       At approximately 4:55 p.m.—while rioters were assaulting law enforcement officers with

bats, flagpoles, riot shields; screaming obscenities and vulgarities at officers; and attempting to

force their way inside the Capitol—Miller unleashed the contents of a fire extinguisher directly

into the Lower West Terrace tunnel at the law enforcement officers there. 13 This assault is


13
  That same fire extinguisher is picked up seconds later by Defendant Robert Palmer (21-cr-
328), who emptied the contents of the fire extinguisher on the officers and then hurled it at them.
                                                24
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 25 of 44




depicted in Government’s Exhibit 13 14 (a video submitted to the Court) and Exhibit 13A 15.




       Exhibit 13A

       As evidenced in Government’s Exhibit 1416 (a video submitted to the Court) and Exhibits

14A-B (stills from Exhibit 14), at least a dozen law enforcement officers were in the Lower West

Terrace tunnel as the contents of the fire extinguisher discharged by Miller washed over them.




For his crimes, Defendant Palmer was sentenced to 63 months incarceration.
14
   Video obtained from the contents of defendant Jacob Lang’s phone.
15
   Open-Source Getty Image.
16
   BWC from MPD Officer J. Park.
                                               25
       Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 26 of 44




        Exhibit 14A




       Exhibit 14B


                                            Injuries

       The contents of a fire extinguisher are known to cause respiratory, skin, or eye irritation,

and could cause serious toxicity if inhaled. 17 More than half a dozen officers who were in the


17
  https://www.poison.org/articles/fire-extinguisher-safety-
184#:~:text=Proper%20use%20of%20fire%20extinguishers,and%20would%20require%20medi
                                               26
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 27 of 44




Lower West Terrace tunnel when Miller deployed a fire extinguisher were interviewed; none could

identify Miller specifically. However, all reported “smoke” or an “unknown fog.” Most stated

they needed to use water to cleanse the substance from their eyes; one said the “smoke” impaired

their vision; one said it burned his skin. A USCP officer provided photographs depicting the

appearance of his helmet after the assault in the Lower West Terrace tunnel, as shown in

Government’s Exhibits 15A and 15B 18.




       Exhibit 15A                         Exhibit 15B

       Miller’s participation in this riot contributed to the rioters who also injured officers and

destroyed property. See Section II(A) (“Injuries and Property Damage Caused by the January 6,



cal%20evaluation.
18
   Photos provided by U.S. Capitol Police Officer J. Collins
                                               27
          Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 28 of 44




2021 Attach”) supra. Further, Miller’s violent conduct served to incite and embolden other

violent rioters around him.

   III.      THE CHARGES AND PLEA AGREEMENT

          On November 10, 2021, a federal grand jury returned a superseding indictment charging

Miller with Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); Obstruction of an Official

Proceeding, in violation of 18 U.S.C. § 1512(c)(2); Assaulting, Resisting, or Impeding Certain

Officers Using a Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) and (b); Entering or

Remaining in any Restricted Building or Grounds with a Deadly or Dangerous Weapon, in

violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A); Disorderly and Disruptive Conduct in a

Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

§ 1752(a)(2) and (b)(1)(A); Engaging in Physical Violence in a Restricted Building or Grounds

with a Dangerous or Deadly Weapon, in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A);

Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D); Act of

Physical Violence in the Capitol Grounds or Buildings in violation of 40 U.S.C. § 5104(e)(2)(F);

and Stepping, Climbing, Removing, or Injuring Property on the Capitol Grounds, in violation of

40 U.S.C. § 5104(d).

          On February 9, 2022, Miller pled guilty to Count Two, Obstruction of an Official

Proceeding in violation of 18 U.S.C. § 1512(c)(2), and the lesser included of Count Three,

Assaulting, Resisting, or Impeding Certain Officers in violation of 18 U.S.C. § 111(a)(1).

          Pursuant to the terms of his plea agreement, Miller engaged in a debrief with the U.S.

Attorney’s Office and the Federal Bureau of Investigation prior to his sentencing. During his

interview, Miller expressed remorse for his actions on January 6, but said there were agitators in


                                                28
            Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 29 of 44




the crowd, inferring a deflection of blame.

      IV.      STATUTORY PENALTIES

            Miller now faces sentencing on Obstruction of an Official Proceeding in violation of 18

U.S.C. § 1512(c)(2) and Assaulting, Resisting, or Impeding Certain Officers in violation of 18

U.S.C. § 111(a)(1).

            As noted by the plea agreement and the U.S. Probation Office, Miller faces up to 20 years

of imprisonment, a fine up to $250,000, and a term of supervised release of not more than three

years for Count Two, Obstruction of an Official Proceeding, and up to 8 years of imprisonment, a

fine up to $250,000, and a term of supervised release of not more than three years for Count Three,

Assaulting, Resisting, or Impeding Certain Officers.

      V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

            As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.

The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

            The final PSR includes one error.

            The PSR does not include the three-level enhancement for the specific offense

characteristic pursuant to U.S.S.G. §2J1.2(b)(2). See PSR ¶¶ 40-49. Miller’s offense resulted in


                                                   29
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 30 of 44




substantial interference with the administration of justice, specifically, the proceeding before

Congress, to wit: Congress’s certification of the Electoral College vote; therefore, the three-level

enhancement applies. Miller acknowledged this in his plea agreement.         See Plea Agreement, at

ECF 58.

       The three-level increase applies where “the offense resulted in substantial interference with

the administration of justice. U.S.S.G. § 2J1.2(b)(2) (emphasis added). The Guidelines define the

term “[s]ubstantial interference with the administration of justice” to include “a premature or

improper termination of a felony investigation; an indictment, verdict, or any judicial

determination based on perjury, false testimony, or other false evidence; or the unnecessary

expenditure of substantial governmental or court resources.” U.S.S.G. § 2J1.2 cmt. n.1 (emphasis

added). The offenses that Miller committed on January 6 resulted in substantial interference with

the administration of justice because it involved the unnecessary expenditure of governmental

resources.

       That commonsense view finds support in the case law. For example, district courts have

relied on the phrase, “the unnecessary expenditure of substantial government or court resources,”

to apply subsection (b)(2)’s three-level enhancement to interference with non-judicial proceedings

and to obstruction that led to the government’s expenditure of resources. In United States v. Ali,

864 F.3d 573, 574 (7th Cir. 2017), the Seventh Circuit affirmed the application of that

enhancement after numerous federal agents “worked for several days around the clock” to bring a

defendant’s children back to the United States after the defendant violated an international parental

kidnapping statute. In United States v. Atlantic States Cast Iron Pipe Co., 627 F. Supp. 2d 180,

205-08 (D.N.J. 2009), the district court applied the enhancement after defendants interfered with


                                                 30
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 31 of 44




OSHA investigations into a workplace accident. In United States v. Weissman, 22 F. Supp. 2d

187, 194-98 (S.D.N.Y. 1998), the district court applied the enhancement after a defendant withheld

subpoenaed documents from a congressional subcommittee. The Eleventh Circuit recently cited

affirmatively to another case in which it found Section 2J1.2(b)(2) applicable where the

government was forced to identify and interview several other witnesses, review the defendant’s

records, and reconvene the grand jury.as a result of the defendant’s false grand jury testimony. See

United States v. Pegg, 812, F. App’x 851, 860 (11th Cir. 2020) (citing United States v. Johnson,

485 F.3d 1264, 1271–72) (11th Cir. 2007)). See also United States v. Meredith, 602 F. App’x 102,

103 (4th Cir. 2015) (affirming the application of the enhancement because significant

“government” resources were invested to resolve the defendant’s attempts at obstruction); United

States v. Tankersley, 296 F.3d 620, 623–24 (7th Cir. 2002) (same); United States v. Harrington,

82 F.3d 83, 87 n.2 (5th Cir. 1996), as modified on reh’g (Apr. 17, 1996) (same); United States v.

Voss, 82 F.3d 1521, 1532 (10th Cir. 1996) (same).

       The events of January 6, 2021 indisputably resulted in the “unnecessary expenditure of

substantial governmental . . . resources,” with the latest estimate of damages from the Architect of

the Capitol, the Capitol Police, the House Chief Administrative Office, and the Senate Sergeant at

Arms totaling at least $2,734,783.15 . Miller’s offense—along with similar offenses committed by

many others—without question “resulted in” the “unnecessary expenditure of substantial

governmental resources”: the deployment of hundreds of law enforcement officers, and ultimately

National Guardsmen and Guardswomen, to defend and then clear the Capitol building and grounds

of those—including Miller—whose conduct caused the evacuation of hundreds of lawmakers and

the suspension of the certification proceedings. The repair and clean-up costs were similarly


                                                31
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 32 of 44




extensive—and certainly “substantial.” In short, the breach delayed the electoral certification by

more than five hours, caused nearly three million dollars of damage to the Capitol and other losses,

triggered an overwhelming police response, and required a massive security response up to and

through the inauguration. See Ali, 864 F.3d at 574 (noting that involvement by various agencies

working through the night amounted to substantial expenditure, notwithstanding the government’s

failure to supply cost estimates related to these expenses).

       This reading of the specific offense characteristic at issue also finds support in

§ 1B1.3(a)(3), which includes as relevant conduct “all harm that resulted from” or “was the object

of” the defendant’s acts (or the acts of others engaged in jointly undertaken criminal activity).

Here, Miller’s actions meet both of those conditions.              Section 2J1.2(b)(2)’s substantial

interference enhancement focuses on whether the end result—the obstruction itself—was

substantial. Here, it was. Miller’s actions on January 6, coupled with those of his fellow rioters,

directly resulted in delaying the certification vote for several hours, in addition to the various

expenditures detailed above required to address this obstruction.

        This Probation Department has recommended the application of the specific offense

characteristic related to the “administration of justice” in several other Capitol riot matters in which

defendants were convicted of violating 18 U.S.C. § 1512, including United States v. Hodgkins, 21-

cr-188-RDM; United States v. Fairlamb, 21-cr-120-RCL; United States v. Chansley, 21-cr-3-RCL;

United States v. Wilson, 21-cr-345-RCL; and United States v. Rubenacker, 21-cr-193-1-BAH.

The sentencing judges applied the specific offense characteristics related to the “administration of

justice” in all those cases, with the exception of Rubenacker, who has not yet been sentenced.

       Finally, Miller himself agreed that the three-level enhancement applies. See Plea


                                                  32
           Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 33 of 44




Agreement, at ECF 58.

See Plea Agreement at ¶¶ 5(A). 19

           The U.S. Probation Office calculated Miller’s criminal history as category I, which is not

disputed. See PSR ¶ 52. Accordingly, based on the government’s calculation of the defendant’s

total adjusted offense level, after acceptance of responsibility, at 22, Miller’s Guidelines

imprisonment range is 41 to 51 months’ imprisonment. Miller’s plea agreement contains an

agreed-upon Guidelines range calculation that mirrors the calculation contained herein.

     VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

           In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct, §

3553(a)(6). In this case, as described below, all of the Section 3553(a) factors weigh in favor of

a lengthy term of incarceration.

           A.     Nature and Circumstances of the Offense

           The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of



19
   Based on the facts and circumstances of Miller’s case, the government does not seek imposition
of an upward departure pursuant to U.S.S.G. § 3A1.4 n.4 (see Plea Agreement at ¶5(C)) because
a sentence within the Guidelines range of 41-51 months is sufficient but not greater than necessary
to comply with the purposes of sentencing as set forth in 18 U.S.C. § 3553(a)(2).
                                                   33
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 34 of 44




the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on his or her individual conduct, each

individual person who entered the Capitol and assaulted law enforcement on January 6 did so

under the most extreme of circumstances, to which their conduct directly contributed. As a person

entered the Capitol, they would—at a minimum—have crossed through numerous barriers and

barricades, heard the throes of a mob, and smelled chemical irritants in the air. Depending on the

timing and location of their approach, in addition to their own acts of violence, they likely would

have observed other extensive fighting with law enforcement.

       While looking at Miller’s individual conduct, we must assess such conduct on a spectrum.

This Court, in determining a fair and just sentence on this spectrum, should look to a number of

critical factors, to include: (1) whether, when, how the defendant entered the Capitol building; (2)

whether the defendant encouraged violence; (3) whether the defendant encouraged any acts of

property destruction; (4) the defendant’s reaction to acts of violence or destruction; (5) whether

during or after the riot, the defendant destroyed evidence; (6) the length of the defendant’s time

inside of the building, and exactly where the defendant traveled; (7) the defendant’s statements in

person or on social media; (8) whether the defendant cooperated with, or ignored, law enforcement;

and (9) whether the defendant otherwise exhibited evidence of remorse or contrition. While these

factors are not exhaustive nor dispositive, they help to place each individual defendant on a

spectrum as to their fair and just punishment.

       The nature and circumstances of Defendant Miller’s crimes weigh heavily towards a

significant term of incarceration. Upon approaching the Capitol, Miller both encouraged others


                                                 34
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 35 of 44




over a wall and hurled an object towards the building. See Exhibits 6 and 6A-D. Miller helped

others to move a large board onto the Capitol and then used a barricade to scale a wall on the

Capitol grounds. See Exhibits 8 and 8A-C.      Once closer to the entrance to the Capitol, by calling

out multiple times, “come on” and “one, two, three, push,” for at least two minutes, Miller incited

the mob to push in a collective fashion in unison against law enforcement officers protecting the

Capitol. See Exhibits 11 and 11A-B. Miller threw what appear to be batteries at police officers

in the tunnel. See Exhibits 12 and 12A-C. Completely undeterred by the medieval battle

occurring before him, Miller unleashed the contents of a fire extinguisher directly onto police.

See Exhibits 13, 13A, 14, and 14A-B.

       Defendant Miller’s actions on January 6 show an absolute disregard for the rule of law

coupled with a willingness to incite and engage in violence. His actions show a willingness to

violate the law, to engage in acts of disorder and violence, and to harm others, including uniformed

law enforcement.

       The seriousness of this offense including the defendant’s incitement of the mob violence

and assault on multiple police officers, demands a lengthy sentence of imprisonment.

       B. The History and Characteristics of the Defendant

       Miller’s conduct on January 6, 2021 demonstrates a violent character and disrespect for

law enforcement, despite his lack of prior criminal convictions.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

                                                35
         Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 36 of 44




administration of the democratic process.” 20 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration.      Miller’s criminal conduct, assaulting      law

enforcement officers and corruptly obstructing of an official proceeding, is the epitome of

disrespect for the law. When Miller entered the Capitol grounds, it was abundantly clear to him

that lawmakers, and the law enforcement officers who tried to protect them, were under siege.

Law enforcement officers were overwhelmed, outnumbered, and in some cases, in serious danger.

The rule of law was not only disrespected; it was under attack that day. A lesser sentence would

suggest to the public, in general, and other rioters, specifically, that attempts to obstruct official

proceedings and assaults on police officers are not taken seriously. In this way, a lesser sentence

could encourage further abuses. See Gall, 552 U.S. at 54 (it is a “legitimate concern that a lenient

sentence for a serious offense threatens to promote disrespect for the law”).

         D.     The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                        General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. ' 3553(a)(2)(B). The need to deter others is especially strong in cases involving



20
   Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s
Statement”), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
                                                 36
          Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 37 of 44




domestic terrorism, which the breach of the Capitol certainly was. 21 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol. The violence at the Capitol on January 6 was cultivated to

interfere, and did interfere, with one of the most important democratic processes we have: the

transfer of power. As noted by this Court during sentencing, in United States v. Paul Hodgkins,

21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

         The gravity of these offenses demands deterrence This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.

                                         Specific Deterrence

         The need for the sentence to deter Miller from future, similar criminal conduct also


21
     See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
                                                  37
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 38 of 44




weighs heavily in favor of a sentence at the top of the Guidelines ranges. Although Miller has a

criminal history category of I, his conduct on January 6, 2021 was egregious. See United States

v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 29-30 (“[The defendant’s] remorse

didn’t come when he left that Capitol. It didn’t come when he went home. It came when he

realized he was in trouble. It came when he realized that large numbers of Americans and people

worldwide were horrified at what happened that day. It came when he realized that he could go

to jail for what he did. And that is when he felt remorse, and that is when he took responsibility

for his actions.”) (statement of Judge Chutkan).

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96

(2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing
       Commission’s in-depth research into prior sentences, presentence investigations,
       probation and parole office statistics, and other data. U.S.S.G. §1A1.1, intro,
       comment 3. More importantly, the Guidelines reflect Congress’s determination of

                                                   38
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 39 of 44




       potential punishments, as set forth in statutes, and Congress’s on-going approval of
       Guidelines sentencing, through oversight of the Guidelines revision process. See
       28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to the
       Guidelines). Because the Guidelines reflect the collected wisdom of various
       institutions, they deserve careful consideration in each case. Because they have
       been produced at Congress's direction, they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that Asignificantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that might

achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines will be a powerful driver of consistency and

fairness moving forward.

       F.     Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that Miller committed on January 6, 2021 are unprecedented. Mechanical

comparison to many Section 111(a)(1) cases in other non-January 6 contexts would be a disservice

to the magnitude of what the riot entailed and signified, because these crimes defy comparison to

                                                39
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 40 of 44




other obstructive and assaultive conduct in other contexts. January 6 police officer assault cases

that have already proceeded to sentencing provide helpful reference points. 22

       As of the date of this sentencing memorandum, several felony Capitol Riot defendants have

been sentenced:

       United States v. Paul Hodgkins, 21-cr-118-RDM. Hodgkins unlawfully entered the U.S.

Capitol and made it to the Senate Floor with a Trump flag. There, the United States requested 18

months’ imprisonment and Hodgkins was sentenced to 8 months’ imprisonment. Hodgkins was

the first defendant to be sentenced for a violation of Section 1512(c)(2). Unlike Miller, he took

very early responsibility for his actions and he neither committed nor incited violence on January

6. The facts here are dramatically different and warrant a dramatically different sentence.

       United States v. Fairlamb, 21-cr-120-RCL. Fairlamb armed himself with a police baton

and incited violence outside of the Capitol. He was one of the very first rioters inside of the

Capitol, and he entered the Capitol brandishing a weapon. Fairlamb also assaulted a law

enforcement officer. There, the United States requested 44 months’ imprisonment. The Court

imposed a 41-month sentence for violations of Sections 1512(c)(2) and 111(a).

       United States v. Languerand, 21-cr-353-JDB. Languerand threw multiple objects at the

law enforcement officers guarding the Capitol in the Lower West Terrace tunnel, and afterwards

bragged on social medial about his role in the riot. There, the government recommended a

sentence of 51 months’ imprisonment. The Court imposed a 44-month sentence for violations of

Sections 111(a) and (b).



22
  Attached to this sentencing memorandum is a table providing additional information about
the sentences imposed on other Capitol breach defendants. That table also shows that the
requested sentence here would not result in an unwarranted sentencing disparity.
                                                40
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 41 of 44




        United States v. Chansley, 21-cr-0003-RCL. Chansley has been called the “face of the

insurrection” because his unique garb and makeup made him highly visible. Chansely neither

assaulted officers nor caused physical damage to the Capitol. For going into the Senate chamber,

writing a note that could easily be interpreted as threatening, and leading rioters in prayer,

Chansely received a 41-month sentence of incarceration for his violation of Section 1512(c)(2).

        United States v. Thompson, 21-cr-461-RCL. The Court sentenced Thompson to 46 months’

incarceration for fighting law enforcement officers in the Lower West Terrace tunnel. Specifically,

Thomson threw objects at officers and hit one on the hand with a metal baton causing a bruise. There,

the United States recommended 48 months, in part based on Thompson’s turning himself in and then

cooperating with the government by providing information at multiple debrief meetings, prior to

accepting a plea offer.

        United States v. Creek, 21-cr-645-DLF.       The Court sentenced Creek to 27 months’

incarceration after a guilty plea to a single count Section 111(a)(1). Creek’s conduct included

shoving one police officer back several feet before striking that officer on the face shield portion

of helmet and pushing a second police officer down then kicking him.

        United States v. Wilson, 21-cr-345-RCL. Wilson and Miller are closely situated. Wilson

was also on the Lower West Terrace on January 6. There, he punched law enforcement officers,

attempted to take their shields, and threw objects at them.       In that case, the United States

recommended a sentence of 46-months incarceration. 23 For violations of Sections 1512(c)(2) and

111(a), the Court sentenced Wilson to 51 months’ imprisonment, the same sentence the

government is seeking in the present case.


23
  The government credited Wilson with being the third Capitol rioter to enter a guilty plea to a
felony charge.
                                             41
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 42 of 44




       United States v. Palmer, 21-cr-328-TSC. Palmer is the most similarly situated to Miller.

Palmer, like Miller, deployed the contents of a fire extinguisher directly into the Lower West

Terrace tunnel onto law enforcement officers. If fact, the very fire extinguisher Palmer picked up

and deployed, was the same one Miller had just sprayed. As demonstrated in Exhibits 13 and 14,

just after Miller deployed the fire extinguisher against police, Palmer picked it up and threw it at

the officers seconds later. Like Palmer, Miller also threw objects into the tunnel at officers.

Unlike Palmer, Miller also encouraged others over a wall and urged a huge mob of rioters to rock

in unison pushing against officers guarding the Capitol while chanting “Heave Ho.”              For

assaulting law enforcement officers with a dangerous or deadly weapon (the same fire extinguisher

Miller used moments earlier), Palmer was sentenced to 63 months’ imprisonment for violating

Sections 111(a) and (b). 24

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an



24
  Palmer did not receive a three-level reduction pursuant to U.S.S.G. §3E1.1, because of his
post-plea conduct. Had he received that reduction, Palmer’s guideline range would have been
46-57 months’ incarceration.
                                                42
            Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 43 of 44




appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

     VII.     RESTITUTION

        The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” 25 United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011). Generally, restitution under the VWPA must “be tied to the

loss caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990),

identify a specific victim who is “directly and proximately harmed as a result of” the offense of

conviction, 18 U.S.C. § 3663(a)(2), and is applied to costs such as the expenses associated with

recovering from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes

a court to impose restitution “in any criminal case to the extent agreed to by the parties in a plea

agreement.” See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C.

Cir. 2008).

        Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Miller must pay $2,000 in restitution to the Architect of the

Capitol, which reflects in part the role Miller played in the riot on January 6. 26 Plea Agreement at



25
   The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified
at 18 U.S.C. § 3663A), which “requires restitution in certain federal cases involving a subset of
the crimes covered” in the VWPA, Papagno, 639 F.3d at 1096, does not apply here. See 18 U.S.C.
§ 3663A(c)(1).
26
   Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).
                                                 43
        Case 1:21-cr-00075-RDM Document 67 Filed 05/11/22 Page 44 of 44




¶ 12.    As the plea agreement reflects, the riot at the United States Capitol had caused

“approximately $1,495,326.55” in damages, a figure based on loss estimates supplied by the

Architect of the Capitol in mid-May 2021. Id. Miller’s restitution payment must be made to the

Clerk of the Court, who will forward the payment to the Architect of the Capitol. See PSR ¶ 125.

   VIII. CONCLUSION

        For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 51 months, which is a high-range sentence as calculated by the

government and as agreed upon by the parties in the plea agreement, restitution of $2,000, and the

mandatory $100 special assessment for each count of conviction.

                                                            Respectfully submitted,

                                                            MATTHEW M. GRAVES
                                                            UNITED STATES ATTORNEY


                                                            BY: /s/Jacqueline Schesnol
                                                            JACQUELINE SCHESNOL
                                                            AZ Bar No. 016742
                                                            Trial Attorney
                                                            Capitol Riot Detailee
                                                            Two Renaissance Square
                                                            40 N. Central Ave., Suite 1800
                                                            Phoenix, AZ 85004-4449
                                                            (602) 514-7500
                                                            jacqueline.schesnol@usdoj.gov




                                               44
